                    IN THE SUPREME COURT OF NORTH CAROLINA

                                       2021-NCSC-89

                                        No. 187PA20

                                    Filed 13 August 2021

     STATE OF NORTH CAROLINA

                  v.
     SHANNA CHEYENNE SHULER


           On discretionary review pursuant to N.C.G.S. § 7A-31 of a unanimous decision

     of the Court of Appeals, 270 N.C. App. 799 (2020), finding no error after appeal from

     a judgment entered on 31 October 2018 by Judge William H. Coward in Superior

     Court, Haywood County. Heard in the Supreme Court on 18 May 2021.




           Joshua Stein, Attorney General, by Brent D. Kiziah, Assistant Attorney General
           for the State-appellee.

           W. Michael Spivey for defendant-appellant.


           HUDSON, Justice.

¶1         Here we must decide whether a criminal defendant forfeits her Fifth

     Amendment right to silence when she gives pretrial notice of her intent to offer the

     affirmative defense of duress under N.C.G.S. § 15A-905(c)(1). We conclude that the

     defendant does not forfeit that right, and that regardless, the State may not

     preemptively impeach a defendant during its case-in-chief. Accordingly, we reverse

     and remand to the Court of Appeals.
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                        I.   Factual and Procedural Background

¶2           On 2 March 2017, Chief of Police Russell Gilliland and Detective Brennan

     Regner of the Maggie Valley Police Department responded to a reported disturbance

     at a motel involving people in a Ford Fusion. The officers located the car, approached

     a man standing next to the car, and learned that the man was Joshua Warren. After

     determining that there was an outstanding warrant for his arrest, they arrested him

     and searched him and he was transferred to the detention facility by another officer.

¶3           Chief Gilliland and Detective Regner then approached defendant, Shanna

     Cheyenne Shuler, who was the driver of the car and asked her for identification. They

     determined that she also had an outstanding warrant for her arrest. The officers

     asked defendant if she had “anything on her.” She was hesitant, but upon being asked

     again, defendant pulled out a bag “containing a leafy substance.” The officers asked

     again if she had any other substances and warned her that if she arrived at the

     detention facility in possession of illegal substances she could be charged with

     additional crimes. She then pulled a “clear baggie of crystal-like substance out of her

     bra.”

¶4           Defendant was charged with felony trafficking in methamphetamine and with

     misdemeanor simple possession of marijuana. Prior to trial, defendant filed a notice

     of her intent to rely upon the affirmative defense of duress pursuant to N.C.G.S. §

     15A-905(c)(1). In its entirety, the notice stated the following:
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                  Now comes the Defendant, by and through her attorney,
                  Joel Schechet and, in accordance with N.C.G.S. § 15A-
                  905(c), gives notice of the following defense:

                  1. Duress

¶5         At trial, Detective Regner testified for the State during its case-in-chief. The

     State asked Detective Regner if defendant made “any statements” about Joshua

     Warren when she handed over the substances in her possession. Defense counsel

     objected, and the trial court overruled the objection. Detective Regner then testified:

     “No, ma’am. She made no—no comment during that one time.”

¶6         Defense counsel asked for the trial court to excuse the jury and then moved for

     a mistrial arguing that the State’s question had “solicited an answer highlighting

     [defendant’s] silence at the scene.” The trial court conducted a voir dire to determine

     the admissibility of Detective Regner’s testimony. Ultimately, the trial court allowed

     the State to ask the question again when the jury returned.

¶7         After the State’s case-in chief, defense counsel gave its opening statement.

     Defendant then took the witness stand to testify in her own defense. At the close of

     all the evidence, the trial court instructed the jury on the defense of duress.

     Ultimately, the jury found defendant guilty of both charges. Defendant appealed to

     the Court of Appeals.

¶8         The Court of Appeals unanimously found no error in the jury’s verdicts or in

     the judgment concluding that because defendant gave notice of her intent to assert
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       the affirmative defense of duress before she testified, the trial court did not err in

       admitting Detective Regner’s testimony of defendant’s silence during the State’s case-

       in-chief. State v. Shuler, 270 N.C. App. 799, 805 (2020). Defendant petitioned our

       Court for discretionary review. We allowed her petition on 15 December 2020 to

       review the single issue presented by defendant in her petition and stated here:

                    Did the Court of Appeals err by holding that a defendant
                    who exercises their Fifth Amendment right to silence
                    forfeits that right if they comply with N.C.G.S. § 15A-
                    905(c)(1) and give notice of intent to offer an affirmative
                    defense?

                                   II.   Standard of Review

¶9           “It is well settled that de novo review is ordinarily appropriate in cases where

       constitutional rights are implicated.” State v. Diaz, 372 N.C. 493, 498 (2019) (quoting

       Piedmont Triad Reg’l Water Auth. v. Sumner Hills Inc., 353 N.C. 343, 348 (2001)).

       Here, defendant’s Fifth Amendment right to silence is implicated. Accordingly, we

       review the decision of the Court of Appeals de novo.

                                         III.     Analysis

¶ 10         Defendant argues that the Court of Appeals erred when it held that her

       compliance with N.C.G.S. § 15A-905(c)(1), which required her to give pre-trial notice

       of her intent to raise the affirmative defense of duress, resulted in her forfeiting her

       ability to assert her Fifth Amendment right to silence such that the State could offer

       evidence of her silence during its case-in-chief. The State argues that the testimony
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       on defendant’s silence elicited during its case-in-chief was admissible for the purposes

       of impeaching defendant’s credibility as a witness.

¶ 11         This Court has said, “[t]he primary purpose of impeachment is to reduce or

       discount the credibility of a witness for the purpose of inducing the jury to give less

       weight to [her] testimony.” State v. Ward, 338 N.C. 64, 97 (1994) (quoting State v.

       Looney, 294 N.C. 1, 15 (1978)). At the time of Detective Regner’s testimony,

       defendant’s silence could not have achieved the purpose of impeaching defendant’s

       credibility as a witness since defendant had not yet testified. The State cannot

       preemptively impeach a criminal defendant by anticipating that the defendant will

       testify because of defendant’s constitutional right to decide not to be a witness.

¶ 12         During oral arguments before this Court, the State conceded that it found no

       authority for the proposition that a defendant may be impeached prior to testifying.

       Instead, the State argued that we should create an exception to the rule against

       preemptive impeachment. According to the State, because defendant here “clearly

       showed” that she intended to testify by giving pre-trial notice of a duress defense,

       Detective Regner’s testimony was admissible for impeachment purposes prior to

       defendant’s testimony. We disagree.

¶ 13         Giving pre-trial notice of a duress defense does not compel a defendant to

       testify on her own behalf, nor does it “clearly show[ ]” she intended to do so. A criminal

       defendant retains the right to choose whether or not to testify at all times up until
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       she actually takes the stand. U.S. Const. amend. V (“No person . . . shall be compelled

       in any criminal case to be a witness against himself . . . .”); see also N.C. Const. art.

       I, § 23; N.C.G.S. § 8-54 (2019); State v. Kemmerlin, 356 N.C. 446, 481 (2002)

       (“A criminal defendant may not be compelled to testify . . . .” (quoting State v.

       Bayman, 336 N.C. 748, 758 (1994))). Permitting the State to introduce evidence to

       impeach defendant’s credibility before she takes the stand would invariably put

       before the jury evidence that is probably prejudicial to defendant. That prejudicial

       evidence would never become admissible if defendant ultimately decided to invoke

       her Fifth Amendment right not to testify. The safest means of preventing the

       eventuality that the jury would hear prejudicial, inadmissible evidence is for this

       Court to hold that evidence offered to impeach a criminal defendant’s credibility as a

       witness is not admissible until she actually testifies. The State’s argument that we

       can presume from defendant’s pretrial notice of her duress defense that defendant

       “clearly showed” an intent to testify such that impeachment evidence was admissible

       during the State’s case-in-chief does not appropriately recognize or protect the

       defendant’s Fifth Amendment right to choose whether or not to testify. Accordingly,

       we decline to adopt the State’s proposed approach.

¶ 14         The State also argues extensively in its brief that because defendant’s silence

       occurred before she was given the Miranda warning, evidence of her silence is

       admissible to impeach her credibility as a witness. However, of the cases cited by the
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       State in which evidence of a defendant’s silence was admissible for impeachment

       purposes, the evidence was always used to impeach the credibility of a witness who

       had taken the stand to testify or to rebut testimony elicited by defense counsel on

       cross-examination. Because the evidence at issue here was offered to impeach a

       defendant who had not taken the stand and was not used for the purposes of rebuttal

       those cases do not apply.1

¶ 15          We hold that when defendant gave pre-trial notice of her intent to invoke an

       affirmative defense under statute, she does not give up her Fifth Amendment right

       to remain silent or her Fifth Amendment right to not testify, and the State was not

       permitted to offer evidence to impeach her credibility when she had not testified.

       Here, at the time the State elicited the impeachment testimony, defendant had not

       testified and retained her Fifth Amendment right not to do so. Thus, it was error to

       admit Detective Regner’s testimony into evidence.

¶ 16          Defendant properly preserved this error by objecting to it and receiving a

       ruling from the trial court thereon. Therefore, on appeal, the reviewing court must

       determine whether such error was harmless beyond a reasonable doubt. N.C.G.S. §




              1 In one case, State v. Booker, 262 N.C. App. 290, 300–03 (2018), defense counsel cross-

       examined the State’s witness about whether he was in contact with the defendant, which
       “opened the door” and allowed the State to ask the witness on redirect about the defendant’s
       silence and lack of contact with the witness. It is unclear whether the defendant testified in
       that case and if the State was using the defendant’s silence to impeach the witness or
       defendant herself.
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       15A-1443(b) (2019); State v. Lawrence, 365 N.C. 506, 512–13 (2012). The Court of

       Appeals did not address whether the error was harmless, and the parties did not

       thoroughly brief this issue to our Court. Therefore, we remand to the Court of Appeals

       to determine whether the erroneously admitted testimony was harmless beyond a

       reasonable doubt.

                                      IV.    Conclusion

¶ 17          In conclusion, we reverse the decision of the Court of Appeals and hold that a

       defendant does not forfeit their Fifth Amendment right to silence if they comply with

       N.C.G.S. § 15A-905(c)(1) and give notice of intent to offer an affirmative defense.

       Furthermore, the State may not preemptively impeach a defendant who has not

       testified.

              REVERSED AND REMANDED.
